                         In The
               United States Court of Appeals
                 For The Eighth Circuit
                             No. 20-1487
                   UNITED STATES OF AMERICA

                                                                     Appellee,
                                     V.

                  WAKINYAN WAKAN MCARTHUR

                                                                    Appellant.


    APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF MINNESOTA


                           APPELLANT’S BRIEF


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 Appellate Case: 20-1487   Page: 1   Date Filed: 04/15/2020 Entry ID: 4902996
                        SUMMARY OF THE CASE

  Wakinyan Wakan McArthur was convicted of conspiracy to

participate in racketeering activity, conspiracy to use and carry

firearms during and in relation to a crime of violence, conspiracy to

distribute and possess with intent to distribute controlled substances,

distribution of controlled substances, and two counts of use and

carrying of a firearm during and in relation to a crime of violence. See

18 U.S.C. §1962(d); 18 U.S.C. §924(o); 21 U.S.C. §841(a)(1) and

(b)(1)(B); 18 U.S.C. §2, 18 U.S.C. §924(c). Over the course of two direct

appeals and three sentencings, McArthur’s convictions on the §924(o)

count and the §924(c) counts were vacated and the initial sentence of a

total term of imprisonment of 513 months was reduced to 420 months.

McArthur now appeals this sentence as it resulted from clear errors in

the application of the applicable advisory Guidelines. While the District

Court did grant McArthur’s motion for a downward variance, the

Guidelines’ errors were not harmless as the record does not show that

the District Court would have imposed the same sentence without the

errors. McArthur requests 10 minutes oral argument.




                                      i
  Appellate Case: 20-1487   Page: 2   Date Filed: 04/15/2020 Entry ID: 4902996
                                   TABLE OF CONTENTS

SUMMARY OF THE CASE ............................................................... i

TABLE OF AUTHORITIES ............................................................... iv

JURISDICTIONAL STATEMENT .................................................... 1

STATEMENT OF THE ISSUES ........................................................ 2

STATEMENT OF THE CASE ........................................................... 3

SUMMARY OF THE ARGUMENT ................................................... 16

ARGUMENT ...................................................................................... 17

   I. Standard of Review ................................................................... 17

   II. The District Court Clearly Erred in its Application of the

       Sentencing Guidelines ............................................................. 18

       A. The District Court clearly erred in its drug quantity
          determination as the evidence did not support the amount
          found........................................................................................18

       B. No enhancement is warranted for maintaining a stash house as
          McArthur did not maintain the residence and any drug activity
          while he stayed there was incidental to the primary use as a
          dwelling....................................................................................22

       C. McArthur did not engage in a pattern of criminal conduct as a
          livelihood ............................................................................... 29

   III.    The error in the Guidelines calculation was not harmless...31




                                                     ii
   Appellate Case: 20-1487            Page: 3       Date Filed: 04/15/2020 Entry ID: 4902996
CONCLUSION .................................................................................. 33

CERTIFICATE OF COMPLIANCE ................................................... 34




                                                iii
   Appellate Case: 20-1487         Page: 4      Date Filed: 04/15/2020 Entry ID: 4902996
                                   TABLE OF AUTHORITIES

Cases

Alleyne v. United States, 570 U.S. 99, 133 S.Ct. 2151, 186 L.Ed. 2d 214
(2013).........................................................................................................20

United States v. Allen, 440 F.3d 449 (8th Cir. 2006) ............................. 19

United States v. Davis, 139 S.Ct. 2319 (2019).....................................9, 10

United States v. Flores, 362 F.3d 1030 (8th Cir. 2004) .......................... 23

United States v. Flores-Olague, 717 F.3d 526 (7th Cir. 2013) ..... 24, 25, 26

United States v. Garcia, 774 F.3d 472 (8th Cir. 2014) ............................. 25

United States v. Harris, 390 F.3d 572 (8th Cir. 2004) ........................... 32

United States v. Johnston, 533 F.3d 972 (8th Cir.2008) ........................ 31

United States v. Lawrence, 854 F.3d 462 (8th Cir. 2017) ............ 2, 19, 20

United States v. Mannings, 850 F.3d 404 (8th Cir. 2017) ........... 2, 17, 19

United States v. Mashek, 406 F.3d 1012 (8th Cir.2005) ........................ 31

United States v. McArthur, 850 F.3d 925 (8th Cir 2017)................... 7, 12

United States v. McArthur, 2019 WL 3776445 (8th Cir. 2019)............2, 9

United States v. Miller, 698 F.3d 699 (8th Cir. 2012) ........ 2, 23, 24, 27, 28

United States v. Nolder, 887 F.2d 140 (8th.Cir.1989) ........................ 3, 30

United States v. Renteria-Saldana, 755 F.3d 856 (8th Cir. 2014)..........29

United States v. Spikes, 543 F.3d 1021 (8th Cir. 2008) ............. 18, 31, 33



                                                       iv
    Appellate Case: 20-1487             Page: 5        Date Filed: 04/15/2020 Entry ID: 4902996
 United States v. Sykes, 854 F.3d 457 (8th Cir. 2017) ....................... 25, 26

United States v. Villareal, 567 Fed. Appx. (8th Cir. 2014) .................... 23

United States v. Yellow Horse, 774 F.3d 493 (8th Cir. 2014) .......... 18, 19

Statutes

18 U.S.C. §2 ............................................................................................ i, 4

18 U.S.C. §924(c) .................................................................................... i, 2

18 U.S.C. §924(c)(1)(A) .................................................................. 1, 4, 5, 9

18 U.S.C. §924(c)(3)....................................................................................9

18 U.S.C. §924(o) ................................................................................ i, 1, 4

18 U.S.C. §1959(a)(3) ................................................................................. 4

18 U.S.C. §1959(a)(5) ................................................................................. 4

18 U.S.C. §1962(d) .............................................................................. i, 1, 4

18 U.S.C. §3231 ......................................................................................... 1

18 U.S.C. §3553(a)...................................................................................... 7

18 U.S.C. §3742 ......................................................................................... 2

21 U.S.C. §841(a)(1)...................................................................... i, 1, 4, 18

21 U.S.C. §841(b)(1)(A)..................................................................... i, 4, 18

21 U.S.C. §841(b)(1)(B).................................................................... 1, 4, 18

21 U.S.C. §841(b)(1)(C).......................................................................... 1, 4




                                                      v
    Appellate Case: 20-1487            Page: 6       Date Filed: 04/15/2020 Entry ID: 4902996
 21 U.S.C. §846 .......................................................................................... 4

21 U.S.C. §856(a)(1) ................................................................................. 23

28 U.S.C. §1291 ......................................................................................... 2

29 U.S.C. §206(a)(c) ................................................................................. 31

Other Authorities

U.S.S.G. §2D1.1 ......................................................................... 2, 5, 20, 21

U.S.S.G. §2D1.1(b)(12) ...................................... 3, 5, 22, 23, 24, 25, 28, 30

U.S.S.G. §2D1.1(b)(15)(E) .................................................... 3, 5, 10 30, 32

U.S.S.G. §2D1.1(c) ................................................................................... 18

U.S.S.G. §2D1.1(c)(4) ............................................................................... 15

U.S.S.G §2D1.1(c)(5)..................................................................................20

U.S.S.G. §2D1.1(c)(7) ............................................................................... 15

U.S.S.G. §2D1.1. Commentary, Application Note 8 (D) ......................... 20

U.S.S.G. §2D1.1, Commentary, Application Note 17 ....................... 23, 24

U.S.S.G. §2D1.1, Application Note 19 .................................................... 30

U.S.S.G. §3D1.4.......................................................................................... 6

U.S.S.G. §4B1.3 ....................................................................................... 31

U.S.S.G. §4D1.3 ....................................................................................... 30

U.S.S.G. Chapter 5, Part A, Commentary, Application Note 2.................. 7




                                                    vi
    Appellate Case: 20-1487           Page: 7       Date Filed: 04/15/2020 Entry ID: 4902996
                    JURISDICTIONAL STATEMENT

  Wakinyan Wakan McArthur was charged with violations of 18

U.S.C. §1962(d); 18 U.S.C. §924(o); 21 U.S.C. §§841(a)(1), (b)(1)(B) and

(b)(1)(C); and 18 U.S.C. §924(c)(1)(A). Jurisdiction in the District Court

was founded on 18 U.S.C. §3231 as McArthur was charged with offenses

against the laws of the United States. A jury trial was held before the

Honorable John R. Tunheim, United States District Court Judge for the

District of Minnesota, commencing on January 24, 2013 and concluding

on March 19, 2013 with guilty verdicts on the above offenses. On

September 30, 2014, Mr. McArthur was sentenced by Judge Tunheim to

a total term of imprisonment of 516 months. Judgement was entered

on October 8, 2014. McArthur initially appealed his convictions on

Counts 10 and 11, the two §924(c) counts, to the United States Court of

Appeals for the Eighth Circuit. This Court vacated McArthur’s

conviction on Count 11, affirmed his remaining convictions, vacated his

entire sentence, and remanded for resentencing. On May 31, 2017,

Chief Judge Tunheim resentenced McArthur to a total term of

imprisonment of 480 months. The Amended Judgment in a Criminal

Case was filed on June 6, 2017. McArthur again appealed. In United




                                      1
  Appellate Case: 20-1487   Page: 8   Date Filed: 04/15/2020 Entry ID: 4902996
States v. McArthur, 2019 WL 3776445 (8th Cir. 2019); this Court

vacated McArthur’s remaining §924(c) conviction, Count 10, vacated his

entire sentence under the sentencing package doctrine, and remanded

for resentencing. On February 24, 2020, Chief Judge Tunheim

resentenced McArthur to a total term of imprisonment of 420 months.

The Re-Sentencing Judgment in a Criminal Case was filed on February

28, 2020. McArthur’s Notice of Appeal was timely filed on March 6,

2020. This Court’s jurisdiction is based on 18 U.S.C. §3742 and 28

U.S.C. §1291.

                     STATEMENT OF THE ISSUES

1. What quantity of drugs is the defendant responsible for under

  U.S.S.G. §2D1.1?

  The District Court found Appellant responsible for between 1,000

  and 3,000 kilograms of marijuana equivalent.

  Apposite Authorities:

  United States v. Lawrence, 854 F.3d 462 (8th Cir. 2017)
  United States v. Mannings, 850 F.3d 404 (8th Cir. 2017)

2. Whether the defendant ever maintained a “stash house” so as to

  subject him to a 2-level enhancement under U.S.S.G. §2D1.1(b)(12)?

  The District Court found the enhancement applied.



                                      2
  Appellate Case: 20-1487   Page: 9   Date Filed: 04/15/2020 Entry ID: 4902996
  Apposite Authorities:

  U.S.S.G. §2D1.1(b)(12)
  United States v. Miller, 698 F.3d 699 (8th Cir. 2012)
  United States v. Flores-Olaque, 717 F.3d 526 (7th Cir. 2013)

3. Whether an offense level increase is warranted under

  §2D1.1(b)(15)(E) for committing the offense as part of a pattern of

  criminal conduct engaged in as a livelihood?

  The District Court found the enhancement applied.

  Apposite Authorities:

  U.S.S.G. §2D1.1(b)(15)(E)
  United States v. Nolder, 887 F.2d 140 (8th Cir. 1989)

                       STATEMENT OF THE CASE

1. Procedural History

  Wakinyan Wakan McArthur was charged in a Redacted Superseding

Indictment with the following offenses:

  ▪ Count 1: Conspiracy to participate in racketeering activity in

     violation of 18 U.S.C. §1962(d);

  ▪ Count 2: Conspiracy to use and carry firearms during and in

     relation to a crime of violence in violation of 18 U.S.C. §1962(d) and

     18 U.S.C. §924(o);




                                       3
  Appellate Case: 20-1487   Page: 10   Date Filed: 04/15/2020 Entry ID: 4902996
  ▪ Count 3: Attempted murder in aid of racketeering in violation of 18

     U.S.C. §1959(a)(5) and 18 U.S.C. §2;

  ▪ Count 4: Assault with a dangerous weapon in aid of racketeering in

     violation of 18 U.S.C. §1959(a)(3) and 18 U.S.C. §2;

  ▪ Count 5: Use and carrying of firearm during and in relation to a

     crime of violence in violation of 18 U.S.C. §924(c)(1)(A);

  ▪ Count 7: Conspiracy to distribute and possess with intent to

     distribute controlled substances in violation of 21 U.S.C. §841(a)(1)

     and 841(b)(1)(A), (b)(1)(B), (b)(1)(C) and 21 U.S.C. §846;

  ▪ Count 8: Aiding and abetting distribution of a controlled substance

     in violation of 21 U.S.C. §841(a)(1) and §841(b)(1)(C);

  ▪ Count 9: Use and carrying of firearm during and in relation to a

     crime of violence in violation of 18 U.S.C. §924(c)(1)(A);

  ▪ Count 10: Use and carrying of firearm during and in relation to a

     crime of violence in violation of 18 U.S.C. §924(c)(1)(A); and

  ▪ Count 11: Use and carrying of firearm during and in relation to a

     crime of violence in violation of 18 U.S.C. §924(c)(1)(A).

(See District Court Docket (“DCD”) DCD No. 1060-4).




                                       4
  Appellate Case: 20-1487   Page: 11   Date Filed: 04/15/2020 Entry ID: 4902996
  The case came on for trial before the Honorable John R. Tunheim,

Judge of the United States District Court for the District of Minnesota

(now Chief Judge), beginning on January 24, 2013. On March 19, 2013,

the jury returned its verdict finding McArthur not guilty of counts 3, 4, 5,

and 9 but convicting him on counts 1, 2, 7, 8, 10, and 11.

  McArthur raised a number of objections to the presentence

investigation report (PSR) including as to drug quantity under U.S.S.G.

§2D1.1, the application of the “stash house” enhancement under U.S.S.G.

§2D1.1(b)(12), and the application of the pattern of criminal conduct

engaged in as a livelihood enhancement under U.S.S.G. §2D1.1(b)(14).1

(DCD No. 1382 pp. 1, 3).

  The case came on for sentencing before Judge Tunheim on September

30, 2014. Following an evidentiary hearing, the District Court denied

McArthur’s objections as to the above Guidelines factors. (See Sentencing

Transcript from hearing of September 30, 2014, hereafter “ST 1,” at pp.

102-104, 106). As to drug quantity, the district court found that the

conspiracy involved the equivalent of between 1,000 and 3,000 kilograms

of marijuana. (ST 1 at p. 102).


1 The enhancement is now found at U.S.S.G. §2D1.1(b)(15)(E).




                                       5
  Appellate Case: 20-1487   Page: 12   Date Filed: 04/15/2020 Entry ID: 4902996
   For Count Group 1, the racketeering activity, the District Court found

the base offense level was 33, there was a four-level increase for

McArthur’s leadership role in the offense, and a two-level increase for

obstruction of justice. (ST 1 at p. 105). This calculation yielded an

adjusted offense level on Count Group 1 of 39. (Id.) The same factors led

to an adjusted offense level of 39 as to Count Groups 2 and 3. (ST 1 at pp.

105-106).

   As to Count Group 4, involving the distribution of controlled

substances, namely cocaine and cocaine base; the District Court found the

base offense level was 32 based on drug quantities, applied a two-level

increase for possession of a firearm, a two-level increase because of the

credible threat to use violence, a two-level increase for maintaining the

premises for purposes of manufacturing or distributing a controlled

substance, a two-level increase because of the offense being a part of a

pattern of criminal conduct, a two-level increase for the use of minors, a

four-level increase for role in the offense as a leader, and a two-level

increase for obstruction of justice. (ST 1 at p. 106). That yielded a total

offense level of 48. (ST 1 at p. 106). Under the multiple count adjustment

analysis of U.S.S.G. §3D1.4, the District Court added an additional point




                                       6
  Appellate Case: 20-1487   Page: 13   Date Filed: 04/15/2020 Entry ID: 4902996
bringing the total offense level to 49. (ST 1 at p. 107). The District Court

then reduced the offense level to 43 under U.S.S.G. Chapter 5, Part A,

Commentary, Application Note 2. (Id.). Finding that McArthur was in

criminal history category III, the District Court determined the advisory

Guidelines’ range was life imprisonment. (ST 1 p. 107).

  Considering the factors of 18 U.S.C. §3553(a), the District Court then

granted McArthur’s motion for a downward variance and imposed a total

sentence of 516 months imprisonment. (ST 1 pp. 121-122). The

breakdown of the sentence was 156 months imprisonment on Counts 1, 2

and 8; 60 months on Count 7; 60 months on Count 10 and 300 months on

Count 11 with the sentences on Counts 1, 2 and 7 to be served

concurrently to one another and the sentences on Counts 10 and 11 to be

served consecutively. (Id).

  McArthur appealed his convictions on Counts 10 and 11 to the United

States Court of Appeals for the Eighth Circuit. In its opinion filed on

February 24, 2017, the Eighth Circuit vacated McArthur’s conviction on

Count 11, affirmed his remaining convictions, vacated McArthur’s entire

sentence, and remanded for resentencing. United States v. McArthur,

850 F.3d 925, 943 (8th Cir. 2017).




                                         7
  Appellate Case: 20-1487     Page: 14   Date Filed: 04/15/2020 Entry ID: 4902996
    The case came on for resentencing before Chief Judge Tunheim on

May 30 and 31, 2017. Prior to resentencing McArthur reaffirmed and

renewed all of his prior objections as set forth in his initial position

pleading as to sentencing with the exception of those as to Count 11

which had been vacated. (DCD 1710 p. 3). McArthur maintained his prior

Guidelines objections at the resentencing hearing. (See Sentencing

Transcripts from May 30-31, 2017, hereafter “ST 2,” at p. 98). The

District Court overruled the objections but noted they were preserved.

(Id.). The District Court then adopted the factual statements in the

Revised Presentence Report, hereafter “RPSR.” (ST 2 p. 99). The District

Court determined the Guidelines calculations were unchanged with the

exception being as to Count Group four which had a base offense level of

30 due to intervening amendments to the Guidelines as to drug quantity.

(Id). The total adjusted offense level remained 49 which was reduced to

43. (Id.). With a criminal history category of III, McArthur’s advisory

Guidelines’ range remained life imprisonment. (Id).

   The District Court then again varied downward from the advisory

Guidelines range to a total term of imprisonment of 480 months. (ST 2

pp. 142-143). The District Court imposed a sentence of 240 months on




                                       8
  Appellate Case: 20-1487   Page: 15   Date Filed: 04/15/2020 Entry ID: 4902996
Counts 1, 2 and 8 and a 420-month sentence on Count 7, all to be served

concurrently, and a 60-month consecutive sentence on Count 10. (ST 2 p.

144).

  McArthur again appealed his convictions and sentence to the Eighth

Circuit Court of Appeals. McArthur’s issues in his second appeal included

that his conviction on Count 10 for violating 18 U.S.C. §924(c)(1)(A) was

invalid as the predicate offense, the RICO conspiracy charged in Count 1,

was not a “crime of violence” under 18 U.S.C. §924(c)(3). In an opinion

filed on August 12, 2019, this Court vacated McArthur’s remaining

§924(c)(1)(A) conviction agreeing that, under United States v. Davis, 139

S.Ct. 2319 (2019), the RICO conspiracy in Count 1 was not a predicate

“crime of violence.” United States v. McArthur, 2019 WL 3776445 (8th

Cir. 2019) (McArthur II). The Eighth Circuit again vacated McArthur’s

entire sentence under the sentencing package doctrine and remanded for

resentencing. Id.

  The case came on for the second resentencing before Chief Judge

Tunheim on February 24, 2019. Prior to resentencing McArthur moved

to vacate his conviction on Count 2, conspiracy to use or possess firearms

in the course and furtherance of a crime of violence under 18 U.S.C.




                                       9
  Appellate Case: 20-1487   Page: 16   Date Filed: 04/15/2020 Entry ID: 4902996
§924(o), as the charged predicate offense, the RICO conspiracy, was not a

crime of violence under Davis as well as the Eighth Circuit’s holding in

McArthur II. The Government did not oppose the motion and the District

Court dismissed Count 2 at the resentencing. (See Resentencing

Transcript, February 24, 2020, (“RST”) at p. 3).

  As to his sentence, McArthur reaffirmed his objections to the

Guidelines’ calculations in particular to drug quantity, to the “stash

house” enhancement under U.S.S.G. §2D1.1(b)(12), and to the

enhancement for “criminal livelihood” under U.S.S.G. §2D1.1(b)(15)(E)).

DCD No. 1966 at pp. 17-18. The District Court overruled the objections

but noted they were preserved. (RST p. 6). The District Court maintained

its earlier rulings on these contested Guidelines’ issues. (RST pp. 3-6).

With respect to the Guidelines, the District Court made the following

findings:

  • Count 1 (RICO)/Count Group 1 (racketeering activity): base offense

     level 33, four level increase for role in the offense, two-level increase

     for obstruction of justice, yielding adjusted offense level of 39. (RST

     p. 6)




                                       10
  Appellate Case: 20-1487   Page: 17   Date Filed: 04/15/2020 Entry ID: 4902996
• Count 1 (RICO)/Count Group 2 (racketeering activity): base offense

   level 33, four level increase for role in the offense, two-level increase

   for obstruction of justice, yielding adjusted offense level of 39. (RST

   pp. 6-7).

• Count 1 (RICO)/Count Group 3 (racketeering activity): base offense

   level 33, four level increase for role in the offense, two-level increase

   for obstruction of justice, yielding adjusted offense level of 39. (RST

   p. 7).

• Count 1 (RICO) and Count 7 (conspiracy to distribute cocaine) and

   Count 8 (distribution of cocaine)/Count Group 4 (drugs conspiracy):

   base offense level 30, two level increase for possession of firearm,

   two-level increase for threat to use violence, two-level increase for

   stash house, two-level increase for pattern of criminal conduct, two-

   level increase for use of a minor, four level increase for role in the

   offense, two-level increase for obstruction of justice, yielding

   adjusted offense level of 46. (RST p. 7)

• Multiple Count Adjustment: additional three-level increase

   resulting in total offense level of 49, treated as total offense level of

   43. (RST p. 7).




                                     11
Appellate Case: 20-1487   Page: 18   Date Filed: 04/15/2020 Entry ID: 4902996
   With a criminal history category of III, McArthur’s advisory

Guidelines’ range remained life imprisonment. (RST p. 8). The District

Court noted, however, that the advisory Guideline range for each of the

remaining three counts of conviction was impacted by the respective

statutory maximum sentence which, for Counts 1 and 8 was 240 months

and for Count 7 was 420 months. (RST pp. 8-9).

  The District Court then again varied downward from the advisory

Guidelines’ range to a total term of imprisonment of 420 months. (RST

pp. 41-44). The District Court imposed a sentence of 240 months

imprisonment on Counts 1 and 8 and a sentence of 420-months

imprisonment on Count 7, all to be served concurrently. (RST p. 41).

2. Facts relevant to issue submitted for review

  Appellant respectfully refers the Court to its discussion of relevant

facts in its opinion in United States v. McArthur, 850 F.3d 925, 931-933

(8th Cir. 2017). In addition thereto, Appellant notes the following.

  Kenneth Roberts was a former Native Mob member who testified for

the government at trial. Roberts testified that he purchased between 1/8

of an ounce and an ounce of crack cocaine directly from McArthur on four




                                       12
  Appellate Case: 20-1487   Page: 19   Date Filed: 04/15/2020 Entry ID: 4902996
to five occasions. (TT pp. 2344-2345).2 In the spring of 2010, Roberts

testified that McArthur, “Kon,” was in possession of nine ounces of

powder cocaine. (TT p. 2354). Roberts also testified that he saw

McArthur give one ounce of crack cocaine to a Jeremy Neadeou. (TT p.

2355).

  Roberts knew that drugs were stored in a “white house” in Cass Lake,

Minnesota. (TT. P. 2346). This was Chris Wuori’s house. Id. The house

belonged to Chris Wuori’s father, Rick Wuori, Sr. (TT p. 4833). Roberts

described the house as “Chris Wuori’s white house.” (TT p. 2422, see also

pp. 2526, 2531). Other Native Mob members testifying for the

government at trial confirmed the “white house” was Christopher Wuori’s

house. (TT. p. 3312; see also pp. 4278-4279 (Witness Amanda Carlson

testifying that Chris Wuori lived at a place called the “white house” on

Maple Street in Cass Lake)).

  Roberts saw Wuori cooking cocaine into crack at his house. (TT. Pp.

2347-2348). During the period 2009, 2010 Roberts saw other Native Mob

gang members at the house including McArthur. (TT p. 2347-2349).




2 “TT” references the trial transcript by page number.




                                       13
  Appellate Case: 20-1487   Page: 20   Date Filed: 04/15/2020 Entry ID: 4902996
   Dwight Jones was another former Native Mob member who testified

for the government. Jones testified that in 2009 and 2010 he was getting

cocaine and crack cocaine from “Little White,” also known as Christopher

Wuori. (TT p. 4577). Jones knew that Wuori had his own house in Cass

Lake, a “white house” across the street from a school. (TT p. 4579).Jones

also testified that he saw McArthur in possession of drugs a couple of

times in the summer of 2009, a couple ounces of crack cocaine. (TT p.

4580). Jones also told agents that he had never seen McArthur with

drugs. (TT p. 4644). Jones also acknowledged that McArthur usually

didn’t touch drugs. (Id.)

   Dale Pindegayosh was another cooperating former Native Mob

member who testified on behalf of the government at trial. Pindegayosh

testified that he made trips with Christopher Wuori to pick up drugs

(powder cocaine) 15 times within a two-year period. (TT p. 5679).

Pindegayosh testified sometimes they would get a kilo and would return

to Cass Lake and “cook it all up.” (TT p. 5680). Sometimes the cooking

would take place in the “white house.” (Id). McArthur told Pindegayosh

he pooled money for drugs. (TT p. 5683). Pindegayosh testified




                                       14
  Appellate Case: 20-1487   Page: 21   Date Filed: 04/15/2020 Entry ID: 4902996
McArthur was present at the “white house” when Wuori was cooking up

the crack cocaine. (TT p. 5683).

  Pindegayosh also testified about a search warrant that was executed

at the “white house” in February of 2011. (TT p. 5689). McArthur stayed

there at the time. Id. No evidence was introduced at trial that any drugs

were found. Pindegayosh testified that McArthur lived with his mother

at a different residence in 2009-2010 but for a while “shared” Wuori’s

“white house” with him. (TT p. 5642).

  Christopher Wuori was still living at his “white house” at 316 Maple in

Cass Lake on or about May and June 2011 when law enforcement used

an informant to purchase cocaine. (TT pp. 4801-4815). While McArthur

was involved in two of these sales in May, he was not at the “white house”

during either of them nor did the evidence show he was staying at this

residence at that time. (TT. pp. 4801-4804, 4805-4813). The sale on June

14 did not involve McArthur nor did it happen at the “white house” but

took place at the informant’s residence a few blocks away. (TT pp. 4814-

4815).

  On January 24, 2012, McArthur’s home on Grant Utley Avenue was

thoroughly searched. (TT pp. 5524, 5534-5535). The only drugs found




                                       15
  Appellate Case: 20-1487   Page: 22   Date Filed: 04/15/2020 Entry ID: 4902996
was a small amount of marijuana consistent with personal use. (TT pp.

5534-5535). No other drugs were located anywhere in the residence. (TT

p. 5534). Also, law enforcement did not find anything during their

extensive search of the residence that was associated with drug

distribution. (TT p. 5535).

  Evidence was also introduced at trial, and summarized in the Third

Revised Presentence Report (RPSR3), about a December 2010 Native

Mob council meeting in which McArthur is heard telling other Native

Mob members that they can cut their drugs up at his “crib.” (RPSR3

¶269). McArthur does not dispute he was staying at the “white house” at

this time. The PSR determined that an enhancement was warranted

under §2D1.1(b)(12) on the basis that “(i)n this offense, the defendant was

recorded encouraging members of the Native Mob gang to use his

residence to prepare drugs for distribution.” (RPSR3 ¶343).

                       SUMMARY OF ARGUMENT

  The District Court erred in its factual findings as to drug quantity

and whether McArthur maintained a premises for the purpose of

manufacturing or distributing a controlled substance. The District

Court also incorrectly applied the enhancement for engaging in a




                                       16
  Appellate Case: 20-1487   Page: 23   Date Filed: 04/15/2020 Entry ID: 4902996
 pattern of criminal conduct as a livelihood to the facts. Collectively,

these errors resulted in a ten-level increase in McArthur’s adjusted

offense level under the Guidelines. The error was not harmless as

McArthur’s advisory guidelines range when properly calculated would

have been 324 months to 405 months imprisonment rather than life

imprisonment and the District Court did not indicate that it would have

imposed the same sentence, a total sentence of 420 months, if

appellant’s objections on these Guidelines’ factors were sustained.

Appellant therefore requests that his sentence be vacated and the case

remanded for resentencing.

                                ARGUMENT

I. Standard of Review

   The Court of Appeals reviews the district court's application of the

Guidelines to the facts de novo; its factual findings for clear error; and

the ultimate sentence for reasonableness. United States v. Mannings,

850 F.3d 404, 408 (8th Cir. 2017). “A failure to properly calculate the

advisory Guidelines range is a significant procedural error, and ‘[a] non-

harmless error in calculating the guidelines range requires a remand




                                       17
  Appellate Case: 20-1487   Page: 24   Date Filed: 04/15/2020 Entry ID: 4902996
for resentencing.’” United States v. Spikes, 543 F.3d 1021, 1023 (8th

Cir. 2008) (citation omitted).

II. The District Court Clearly Erred in its Application of the Sentencing

Guidelines.

  A. The District Court clearly erred in its drug quantity

     determination as the evidence did not support the amount found.

  The base offense level for the pseudo Count Four in Count 1 and the

offense in Count 7, conspiracy to distribute and possess with intent to

distribute cocaine and cocaine base in violation of 21 U.S.C. §§841(a)(1)

and (b)(1)(B), is determined by reference to the Drug Quantity Table.

U.S.S.G. § 2D1.1 (c). The government bears the burden of establishing

drug quantity and sentencing enhancements by a preponderance of the

evidence. Mannings, 850 F.3d at 408. The Court of Appeals reviews the

district court's determination of drug quantity for clear error, “applying

the preponderance-of-the-evidence standard.” United States v. Yellow

Horse, 774 F.3d 493, 496 (8th Cir. 2014). Appellant faces an “uphill

battle” challenging the district court's determination of drug quantity

on appeal as this Court “will reverse ... only if the entire record




                                       18
  Appellate Case: 20-1487   Page: 25   Date Filed: 04/15/2020 Entry ID: 4902996
definitely and firmly convinces [the Court] that a mistake has been

made.” United States v. Allen, 440 F.3d 449, 452 (8th Cir. 2006).

  While in a drug trafficking conspiracy a sentencing court may

consider reasonably foreseeable transactions of others, the scope of such

relevant conduct is not without limits. Yellow Horse, 774 F.3d at 496.

As this Court recently observed in United States v. Lawrence, 854 F.3d

462 (8th Cir. 2017):

     Relevant conduct includes “all acts and omissions ... that were
     part of the same course of conduct or common scheme or plan as
     the offense of conviction.” U.S. Sentencing Guidelines
     §1B1.3(a)(2). “In drug conspiracies, the district court may consider
     amounts from other drug transactions, provided the other
     dealings are part of the same course of conduct or scheme.” United
     States v. Bieri, 21 F.3d 811, 817 (8th Cir. 1994). “For two or more
     offenses to constitute part of a common scheme or plan, they must
     be substantially connected to each other by at least one common
     factor, such as common victims, common accomplices, common
     purpose, or similar modus operandi.” U.S.S.G. §1B1.3 cmt.
     n.5(B)(i). “Offenses that do not qualify as part of a common
     scheme or plan may nonetheless qualify as part of the same course
     of conduct if they are sufficiently connected or related to each
     other.” Id. §1B1.3 cmt. n.5(B)(ii). Courts consider “the degree of
     similarity of the offenses, the regularity (repetitions) of the
     offenses, and the time interval between the offenses.... The nature
     of the offenses may also be a relevant consideration.” Id.

Lawrence, 854 F.3d at 467-468.

     Here, the jury made specific findings that McArthur was

responsible for the distribution of less than 500 grams of cocaine and 28



                                       19
  Appellate Case: 20-1487   Page: 26   Date Filed: 04/15/2020 Entry ID: 4902996
grams or more but less than 280 grams of cocaine base. McArthur

cannot be held responsible for any drug amounts greater than those

found by a jury beyond a reasonable doubt as to do so would violate the

Sixth Amendment of the United States Constitution and run contrary

to the command of Alleyne v. United States, 570 U.S. 99, 103, 133 S.Ct.

2151, 186 L.Ed.2d 314(2013).

  While the jury’s findings cap the amount of drugs that can be used to

determine McArthur’s base offense level under §2D1.1(a)(5), further

findings by the District Court were required to determine the amount of

drugs that McArthur should be held responsible for and the

corresponding base offense level within the amounts found by the jury.

The PSR concluded that McArthur should be held responsible for the

greatest amount of drugs that could still be consistent with the jury’s

findings: 499 grams of cocaine and 279 grams of cocaine base. RPSR3 ¶

340. Applying the Drug Equivalency Tables of §2D1.1 Application Note

8 (D), the RPSR3 concluded that McArthur is responsible for 1,096.1

kilograms of marijuana which, pursuant to §2D1.1(c)(5), results in a

base offense level of 30 as the amount of drugs is between 1,000 and

3,000 kg of marijuana. RPSR3 ¶340.




                                       20
  Appellate Case: 20-1487   Page: 27   Date Filed: 04/15/2020 Entry ID: 4902996
   In the case at bar there was little evidence to show that McArthur

himself was involved in the sale of cocaine or cocaine base in quantities

beyond the minimum under the jury’s findings. While Christopher

Wouri was involved in greater weights of cocaine, most of this activity

was not connected with McArthur. McArthur was certainly around

while some of this activity occurred and was directly involved in some

sales for small amounts of cocaine in May and June of 2011. However,

what Wouri sold and distributed beyond that was his own business and

not part of any common scheme or plan or the same course of conduct.

  The District Court found that the government proved that the

conspiracy involved the equivalent of between 1,000 and 3,000

kilograms of marijuana. (ST 1 at p. 102; ST 2 at pp. 99-100). This was

the greatest amount of drugs that was still consistent with the jury’s

findings: 499 grams of cocaine and 279 grams of cocaine base. Because

Christopher Wuori’s drug dealing in large part is not fairly attributable

to McArthur, this finding was in error.




                                       21
  Appellate Case: 20-1487   Page: 28   Date Filed: 04/15/2020 Entry ID: 4902996
  B. No enhancement is warranted for maintaining a stash house as

     McArthur did not maintain the residence and any drug activity

     while he stayed there was incidental to the primary use as a

     dwelling.

  §2D1.1(b)(12) of the Guidelines provides for a two-level offense level

increase “if the defendant maintained a premises for the purpose of

manufacturing or distributing a controlled substance.” Note 17 of the

Commentary to §2D1.1 more fully explains this enhancement stating in

pertinent part as follows:

     Subsection (b)(12) applies to a defendant who knowingly
     maintains a premises…for the purpose of manufacturing or
     distributing a controlled substance, including storage of a
     controlled substance for the purposes of distribution.

     Among the factors the court should consider in determining
     whether the defendant “maintained” the premises are (A) whether
     the defendant held a possessory interest in (e.g., owned or rented)
     the premises and (B) the extent to which the defendant controlled
     access to, or activities at, the premises.

     Manufacturing or distributing a controlled substance need not be
     the sole purpose for which the premises was maintained, but must
     be one of the defendant’s primary or principal uses for the
     premises, rather than one of the defendant’s incidental or
     collateral uses for the premises. In making this determination,
     the court should consider how frequently the premises was used
     by the defendant for manufacturing or distributing a controlled
     substance and how frequently the premises was used by the
     defendant for lawful purposes.



                                        22
  Appellate Case: 20-1487    Page: 29   Date Filed: 04/15/2020 Entry ID: 4902996
U.S.S.G. §2D1.1, Commentary, Application Note 17 (2018).

  In order to support a two-level enhancement under U.S.S.G. §2D1.1

(b)(12), the Government must establish that drug dealing was a major

purpose for which the defendant maintained the premises. United

States v. Villareal, 567 Fed. Appx. 467, 471 (8th Cir. 2014). The

government bears the burden of proving all sentencing enhancements

by a preponderance of the evidence. United States v. Flores, 362 F.3d

1030, 1037 (8th Cir. 2004).

  Defendant acknowledges that just because a premises is someone’s

home, and therefore by definition a place used 100% of the time for a

lawful purpose, this does not mean that the premises could not otherwise

be a “stash house” within the meaning of §2D1.1(b)(12). United States v.

Miller, 698 F.3d 699, 706-707 (8th Cir. 2012). In Miller, the Eighth

Circuit looked to the “crack house” statute, 21 U.S.C. §856(a)(1), in

interpreting §2D1.1(b)(12) as Congress directed the sentencing guidelines

commission to adopt the “stash house” enhancement when it enacted

§856. Id.

  Looking to decisions upholding §856 convictions as a guide, the Eighth

Circuit noted that a home can become a “crack house” within the meaning



                                       23
  Appellate Case: 20-1487   Page: 30   Date Filed: 04/15/2020 Entry ID: 4902996
of §856 where a “defendant used the premises in question as a primary

residence as well as for substantial drug trafficking.” Miller, 698 F.3d at

707. Thus, the Eighth Circuit concluded that the “stash house”

enhancement applies “when a defendant uses the premises for the

purposes of substantial drug trafficking activities, even if the premises

was also her family home at the times in question.” Id.

  Evidence of “substantial drug trafficking activities” in Miller included

four controlled buys from the Miller residence as well as other sales of

methamphetamine occurring at the premises. Id at pp. 702-703.

Additional evidence supporting application of the enhancement included

that Mr. Miller, who resided at the premises, admitted distributing

massive quantities of methamphetamine over the course of six years and

telling his drug customers they would find methamphetamine in various

locations around the premises as well as evidence that he kept records

related to his drug distribution activities at his home. Id at 706.

  In United States v. Flores-Olague, 717 F.3d 526 (7th Cir. 2013); the

Seventh Circuit found the Eighth Circuit’s decision in Miller informative

and persuasive in determining when the “stash house” enhancement of

§2D1.1(b)(12) applies. In determining whether a family home could also




                                       24
  Appellate Case: 20-1487   Page: 31   Date Filed: 04/15/2020 Entry ID: 4902996
be a “stash house,” the Seventh Circuit considered both the frequency

and significance of the illicit activities conducted on the premises. Flores-

Olague, 717 F.3d at 533-534. Evidence supporting the application of the

“stash house” enhancement in Flores-Olague included that the defendant

sold and stored drugs at his home “on a daily basis” over a three-year

period. Id at 533. Additionally, in a search of the home law enforcement

recovered $53,620.00 in United States currency, four firearms, five

cellular phones, and other paraphernalia. Id at 534.

  Other cases finding that the enhancement applies have also involved

substantial drug trafficking activity at the premises as opposed to a one-

off occurrence. In United States v. Garcia, 774 F.3d 472 (8th Cir. 2014);

the Eighth Circuit found that the enhancement applied based on evidence

that the defendant regularly used a detached garage on the premises to

store vehicles that were used in a drug conspiracy and that these vehicles

sometimes contained large quantities of drugs when they were stored in

the garage. Garcia, 774 F.3d at 475. Similarly, in United States v.

Sykes, 854 F.3d 457 (8th Cir. 2017); the “stash house” enhancement

applied based on evidence of four controlled buys occurring at the

residence over a period of a month as well as the seizure of packing




                                       25
  Appellate Case: 20-1487   Page: 32   Date Filed: 04/15/2020 Entry ID: 4902996
materials, $748.00 in cash, a nylon gun case, a measuring cup and a

razorblade with cocaine residue being found at the time of the search.

Sykes, 854 F.3d at 461-462.

     McArthur does not dispute that the evidence shows that at various

points in time the “white house” on Maple Avenue was used to

manufacture or distribute controlled substances. However, Chris Wuori

maintained the “white house,” not McArthur. The “white house” belonged

to Wuori’s father, Rick Wuori.

  McArthur does not dispute that he stayed at this address for a brief

period of time including during December of 2010. Other people,

including Christopher Wuori, lived there at the same time. The

substantial drug trafficking that may have occurred at the “white

house” happened when Christopher Wuori lived there and maintained

the premises; not McArthur. McArthur never maintained the premises

and the enhancement does not apply to him.

  McArthur does not dispute that on one occasion during one council

meeting on December 2010, he told other Native Mob members that, in

conjunction with their coming to the next council meeting to be held in

Cass Lake, they could stay at this house, where he was staying at the




                                       26
  Appellate Case: 20-1487   Page: 33   Date Filed: 04/15/2020 Entry ID: 4902996
time, and “fucking’ cut their shit up nigger.” See RPSR3 ¶269.

However, this incidental use of the premises so others could distribute

narcotics does not come even close to making the manufacturing or

distribution of narcotics one of the defendant’s primary uses of the

residence.

   For this enhancement to apply, there must be specific proof that the

defendant, McArthur, maintained the premises for the purpose of

distributing or manufacturing drugs. Proof that others used the

premises for that purpose is not sufficient. Miller, 698 F.3d at 706. The

PSR bases its finding that the “stash house” enhancement applies solely

on the grounds that “the defendant was recorded encouraging members

of the Native Mab gang to use his residence to prepare drugs for

distribution.” See RPSR3 ¶343. Even if these other members took

McArthur up on his offer, the drug distribution was something they did,

not McArthur.

   While McArthur may have gone to Wuori’s home, he did not

maintain the premises when the substantial drug trafficking activities

occurred. The evidence did not show that any cooking of powder cocaine

into crack happened while McArthur stayed there. None of the




                                       27
  Appellate Case: 20-1487   Page: 34   Date Filed: 04/15/2020 Entry ID: 4902996
witnesses who testified about the use of the “white house” for drug

trafficking established that McArthur was living there at the time or

otherwise then maintaining the premises. Because there is no proof

that McArthur used the premises for drug distribution or

manufacturing, the enhancement does not apply.

   Any drug distribution activities that happened while McArthur

stayed at the premises were incidental to his use of the premises as a

temporary home. As directed by the Commentary to §2D1.1(b)(12), if

one compares the frequency that the premises were used for lawful

purposes as opposed to drug distribution, there should be no doubt that

the enhancement does not apply. There was no evidence that McArthur

engaged in any controlled buys on the property. Cf. Miller, supra

(finding that enhancement applied based on evidence defendant made

three controlled buys on her home and admitted to doing this on more

occasions). Unlike Miller, there was no evidence that substantial drug

trafficking occurred on the premises while McArthur stayed there.

Indeed, a search warrant for the premises executed in February, 2011

did not result in finding any evidence consistent with ongoing drug

distribution or manufacturing occurring at the home.




                                       28
  Appellate Case: 20-1487   Page: 35   Date Filed: 04/15/2020 Entry ID: 4902996
    Further, it should be undisputed that McArthur used the residence

in Cass Lake as his temporary home when he stayed there. Unlike

other cases where the enhancement has applied, this case does not

involve a house with little to no furniture or clothing suggesting it was

used for nothing but drug trafficking. See United States v. Renteria-

Saldana, 755 F.3d 856, 859-860 (8th Cir. 2014). Here, far and away, the

“white house” in Cass Lake was used as a home while McArthur stayed

there, a dwelling where people lived. Any use of the premises for drug

distribution while McArthur stayed there was infrequent, incidental

and collateral to the primary use of the home as a residence. No offense

level increase is therefore warranted under §2D1.1(b)(12).

  C. McArthur did not engage in a pattern of criminal conduct as a

     livelihood.

  McArthur objected to the conclusion in ¶344 of the RPSR3 that he

was subject to a two level offense level increase under §2D1.1 (b)(15)(E)

for committing the offense as part of a pattern of criminal conduct as a

livelihood. The Commentary to §2D1.1 at Application Note 19 explains

application of subsection (b)(15)(E) in greater detail. It provides that for




                                       29
  Appellate Case: 20-1487   Page: 36   Date Filed: 04/15/2020 Entry ID: 4902996
purposes of this subsection, the terms “pattern of criminal conduct”

and “engaged in as a livelihood” have the meanings given in §4B1.3. Id.

  Even if one accepts for the sake of argument that Mr. McArthur

engaged in a pattern of criminal conduct, the evidence did not show that

such conduct was “engaged in as a livelihood.” Application Note 2 to

§4B1.3 defines this term as meaning that “(A) the defendant derived

income from the pattern of criminal conduct that in any 12-month

period exceeded 2,000 times the then existing hourly minimum wage

under federal law; and (B) the totality of circumstances show that such

criminal conduct was the defendant’s primary occupation in that 12-

month period…” U.S.S.G. § 4B1.3, Application Note 2. Even if a

defendant has engaged in a pattern of criminal conduct and derives

income from that conduct, the enhancement does not apply where the

defendant in the end makes little money doing so. “The Sentencing

Commission did not intend a sentence to be enhanced under this section

when a defendant gains a high percentage of his income from criminal

conduct, yet his total income remains below minimum wage.” United

States v. Nolder, 887 F.2d 140, 142 (8th.Cir.1989).




                                       30
  Appellate Case: 20-1487   Page: 37   Date Filed: 04/15/2020 Entry ID: 4902996
  The federal minimum wage during the time period at issue in this

case was $7.25 an hour. 29 U.S.C. §206(a)(c). 2,000 times this amount

is $14,500. The government did not establish, and the District Court

did not find, that Mr. McArthur made even close to this amount,

certainly not more than this amount, during any 12-month period.

Further, the RPSR does not contain any facts that support the

enhancement under §2D1.1 (b)(15)(E). The District Court therefore

erred in applying this enhancement.

III. The error in the Guidelines calculation was not harmless.

  McArthur acknowledges that his objections to the above Guidelines

factors and resulting calculation are subject to harmless error analysis.

See United States v. Johnston, 533 F.3d 972, 978 (8th Cir.2008); United

States v. Mashek, 406 F.3d 1012, 1017 (8th Cir.2005). “The Government

bears the burden of persuasion to demonstrate that the error was

harmless,” that is, that the error did not affect McArthur’s' substantial

rights. Spikes, 543 F.3d at 1025.

  The District Court’s overruling the above objections resulted in a ten

level increase to the Guidelines calculation in Appellant’s case taking

him from an adjusted offense level of 39 to an offense level of 49. The




                                       31
  Appellate Case: 20-1487   Page: 38   Date Filed: 04/15/2020 Entry ID: 4902996
420 month sentence of imprisonment imposed by the District Court on

Count 7 falls above the range that would apply under a corrected

Guidelines calculation: with a Criminal History Category of III, and an

adjusted offense level of 39, the advisory Guidelines’ range is 324 to 405

months imprisonment. This Court has held that if “the sentence

imposed falls within the guideline range urged by the appellant and if it

is clear that the sentencing court would have imposed the same

sentence regardless of whether the appellant’s argument for a lower

guideline range ultimately prevailed, there can be no reversible error in

the sentence.” United States v. Harris, 390 F.3d 572, 573 (8th Cir.

2004).

  Here, however, the sentence imposed falls above the proposed

Guidelines range and the District Court never indicated on the record

that it would have imposed the same sentence if McArthur’s guidelines

calculation would have been different. Most importantly, the District

Court never indicated that it would have imposed a total sentence of 420

months imprisonment if the Guidelines’ sentence was not life

imprisonment. The District Court found that a substantial variance was

appropriate. Because there is no clear indication that the District Court




                                       32
  Appellate Case: 20-1487   Page: 39   Date Filed: 04/15/2020 Entry ID: 4902996
would not have varied downward from a range of 324 to 405 months

imprisonment, the error in the Guidelines’ calculation was not harmless.

See Spikes, 543 F.3d at 1025-1026. The Court of Appeals should

therefore remand the case to the District Court for resentencing.

                               CONCLUSION

  The District Court erred in its Guidelines calculation. The error was

not harmless. Appellant’s sentence should therefore be vacated and the

case remanded for resentencing.

     Dated this 14th day of April, 2020.

                                       GOETZ & ECKLAND P.A.


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                                        33
  Appellate Case: 20-1487   Page: 40    Date Filed: 04/15/2020 Entry ID: 4902996
                    CERTIFICATE OF COMPLIANCE

  Pursuant to Fed. R. App. P. 32(a)(7)(C) and the 8th Cir. L.R. 28A(c),

the undersigned certifies that this brief complies with the page and

type-volume limitation of Fed. R. App. P. 32(a)(7). The brief was

prepared using Microsoft Word 2010 Century Font in font size 14,

which reports that the brief contains 6,343 words. The brief consists of

33 pages.



     Dated this 14th day of April, 2020

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                                        34
  Appellate Case: 20-1487   Page: 41    Date Filed: 04/15/2020 Entry ID: 4902996
